Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2525 Filed 02/01/08 Page 1 of 14




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                     Plaintiff(s),              CASE NUMBER: 05-80025
                                                HONORABLE VICTORIA A. ROBERTS
 v.

 D-1 TIMOTHY DENNIS O’REILLY,

                 Defendant(s).
 _________________________________/

                                     ORDER
                            (REGARDING DOCUMENT #212)


 I.    INTRODUCTION

       This matter is before the Court on Defendant Timothy O’Reilly’s “Motion to

 Suppress Oral Statements and for Evidentiary Hearing.” (Doc. #212). Defendant

 O’Reilly (“O’Reilly”) asks the Court to conduct an Evidentiary Hearing and suppress the

 45-minute tape recording of incriminating statements made to Barron Nix-Bey (“Nix-

 Bey”) and all other statements made to Nix-Bey after he became, in O’Reilly’s words,

 “an agent” for the federal Government. Oral argument was heard on January 28, 2008.

       For the following reasons, O’Reilly’s motion is DENIED.

 II.   BACKGROUND

       On February 12, 2004, co-defendant Norman Duncan (“Duncan”) was arrested

 for his alleged involvement in an armored car robbery in Highland Park. Duncan was

 also under investigation for other unsolved armored car robberies. On February 18,

 2004, Special Agents Angela N. Ryan (“SA Ryan”) and Terry Booth of the Federal

                                            1
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2526 Filed 02/01/08 Page 2 of 14




 Bureau of Investigation (“FBI”) received information from the Detroit Police Department

 (“DPD”) that a confidential source identified O’Reilly as a perpetrator in the Dearborn

 Federal Credit Union (“DFCU”) robbery/murder. The FBI interviewed Duncan regarding

 his participation in the DFCU robbery/murder and his knowledge of O’Reilly’s

 participation. Duncan denied he participated and said he was unaware of O’Reilly’s

 involvement. A polygraph examination verified this information.

       Meanwhile, on February 6, 2004, O’Reilly had begun to serve a two-year

 sentence at the Ryan Correctional Facility (“RCF”) for possession of firearms.

       O’Reilly believes two FBI agents questioned him at RCF in that month about: (1)

 Duncan; (2) a victim in one of the armored car robberies, Eddie Cromer; (3) his

 firearms; (4) various other armored car robberies; and (5) fingerprints found in a

 minivan. O’Reilly says the agents conducted the interview without giving him his

 Miranda rights. According to O’Reilly, the agents told him they were looking for

 information that would implicate Duncan in other armored car robberies and that would

 “clear” him. Before the interview concluded, O’Reilly agreed to provide his palm prints.

        At RCF, Nix-Bey assisted O’Reilly with a motion to challenge a pending state

 charge for stealing a firearm. On July 7, 2004, Nix-Bey and O’Reilly became cell mates.

 The parties are unsure of whether this arrangement occurred before or after Nix-Bey

 began working on the motion. In any event, on July 25, 2004, Nix-Bey wrote a letter to

 the DPD stating he overheard O’Reilly tell another inmate that he participated in the

 DFCU robbery/murder and other armored car robberies. The DPD forwarded the letter

 to FBI Special Agent Barry Higginbotham (“SA Higginbotham”).

       On August 10, 2004, SA Ryan and SA Higginbotham interviewed Nix-Bey at

                                             2
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2527 Filed 02/01/08 Page 3 of 14




 RCF. He confirmed the information in his letter and provided additional information

 regarding O’Reilly’s alleged involvement in armored car robberies (presumably based

 on more conversation).

        Nix-Bey asked to continue to confidentially report his conversations with O’Reilly

 to the FBI.

        On September 2, 2004, SA Ryan, SA Higginbotham, and Special Agent Kerry F.

 McCafferty (“SA McCafferty”) interviewed Nix-Bey at the DPD. He indicated O’Reilly

 was still bragging about his participation in the DFCU robbery/murder and had

 mentioned other alleged participants. O’Reilly says Nix-Bey also reported for the first

 time that O’Reilly said he was one of the shooters.

        Nix-Bey contacted SA Higginbotham on September 7, 2004 and September 14,

 2004 to provide him with still more information regarding O’Reilly’s alleged involvement

 in the DFCU robbery/murder.

        Next, on September 22, 2004, the United States Marshals Service brought Nix-

 Bey to federal court for a debriefing and interview with SA Higginbotham and Assistant

 United States Attorney Diane L. Marion. Nix-Bey was then briefed on the operation of

 his radio that the FBI electronically altered to record conversations. Nix-Bey agreed to

 tape his conversations with O’Reilly at RCF in this manner. On his return to RCF, he

 was placed in segregation for his own protection either because a guard publically

 stated he was wearing a wire, or because he had cash against prison policy. Suffice it

 to say, Nix-Bey never recorded any conversations with O’Reilly while they were both still

 at RCF.

        On September 29, 2004, Nix-Bey appeared before a Federal Grand Jury. He

                                             3
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2528 Filed 02/01/08 Page 4 of 14




 testified to his conversations with O’Reilly concerning the DFCU robbery/murder and

 other robberies. Nix-Bey was returned to the segregation unit of RCF. There, he wrote

 O’Reilly a letter to find out where he should send the motion he prepared on O’Reilly’s

 behalf. Nix-Bey indicated that if O’Reilly did not respond, he would throw the motion in

 the garbage. However, “Return to Sender” is circled on the envelope, to suggest this

 letter was returned to Nix-Bey.

        Nix-Bey was eventually transferred to the Macomb Correctional Facility (“MCF”).

 At some point, Nix-Bey had contacted SA Higginbotham and told him what O’Reilly

 allegedly did with his proceeds from the DFCU robbery/murder. However, on

 November 15, 2004, Nix-Bey told SA Higginbotham his previous information was

 incorrect, and Nix-Bey gave additional insight – allegedly gleaned from O’Reilly – into

 the DFCU robbery/murder.

        Nix-Bey kept in contact with O’Reilly. In one letter, Nix-Bey referred to himself as

 the “Big Daddy” and assured O’Reilly he was safe because he “sent word [to RCF]

 (where O’Reilly was still housed), and told them guys not to jump on [him].”

        On November 1, 2004, the Oakland County Circuit Court granted O’Reilly’s

 “Motion to Dismiss for 180-day Violation” on his pending state charge for stealing a

 firearm. O’Reilly says this relief made him eligible for a level I facility, but he was never

 transferred to a lower-level institution. Instead, Special Agent Daniel D. Roberts of the

 FBI wrote Warden Raymond Booker at RCF and requested that O’Reilly be transferred

 to MCF so Nix-Bey could record him. In addition, SA Higginbotham sought the

 assistance of the Michigan Department of Corrections (“MDOC”). On November 17,

 2004, the MDOC agreed to immediately transfer O’Reilly to its Marquette prison after

                                               4
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2529 Filed 02/01/08 Page 5 of 14




 Nix-Bey obtained the tape recording. O’Reilly says this is evidence of collusion between

 federal and state authorities and of the federal agents’ attempts to manipulate, control,

 and direct his custodial status.

        On December 6, 2004, SA Higginbotham and Special Agent Christopher J. Hess

 debriefed and interviewed Nix-Bey at MCF. He was instructed to re-establish a

 relationship with O’Reilly when he arrived at MCF and obtain incriminating statements

 concerning the DFCU robbery/murder. Nix-Bey said he would, and he agreed to use

 the modified prison radio to record conversations.

        O’Reilly did arrive at MCF on December 8, 2004. On December 14th, O’Reilly

 and Nix-Bey spoke at a picnic table in the prison yard. O’Reilly made incriminating

 statements that Nix-Bey recorded. The following day, Nix-Bey informed SA

 Higginbotham that the recording was successful. SA Higginbotham and SA McCafferty

 obtained Nix-Bey’s radio on December 16, 2004 from MCF and sent it to the FBI office

 in Detroit.

        On December 17th, SA Higginbotham filed a Criminal Complaint in federal court,

 alleging that O’Reilly and certain co-defendants violated 18 U.S.C. §§ 2113(a), 924(c),

 and 924(j). On January 11, 2005, a Federal Grand Jury indicted O’Reilly and co-

 defendants on two counts of conspiracy, two counts of bank robbery, and two counts of

 using and carrying a firearm during a crime of violence.

 III.   ARGUMENTS AND ANALYSIS

        A. Sixth Amendment

        The Sixth Amendment says, “In all criminal prosecutions, the accused shall enjoy



                                             5
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2530 Filed 02/01/08 Page 6 of 14




 the right . . . to have the Assistance of Counsel for his defense.”

        O’Reilly says his Sixth Amendment right to counsel attached when Nix-Bey

 recorded their conversation because the FBI: (1) focused its investigation on him

 months before Nix-Bey was involved; (2) controlled and manipulated his custodial

 assignments solely to initiate and tape a conversation between O’Reilly and Nix-Bey; (3)

 specifically instructed Nix-Bey to interrogate O’Reilly in the “custodial environment

 ultimately controlled by the federal government”; (4) purposefully delayed charges until

 after Nix-Bey obtained a tape-recorded confession even though there was enough

 evidence to arrest him before the recording; and (5) used Nix-Bey to surreptitiously

 extract a confession from O’Reilly.

        The Court disagrees.

        O’Reilly relies on Massiah v. United States, 377 U.S. 201 (1964); United States

 v. Henry, 477 U.S. 264 (1980); and Escobedo v. Illinois, 378 U.S. 478 (1964). However,

 the United States Supreme Court found the defendants in Massiah and Henry were

 entitled to Sixth Amendment protection because they had already been indicted when

 they confessed. See Massiah, 377 U.S. at 206; Henry, 477 U.S. at 270.

        O’Reilly was not entitled to the assistance of counsel because he was not

 indicted for the DFCU robbery/murder when he made incriminating statements to Nix-

 Bey that were recorded. See Illinois v. Perkins, 496 U.S. 292, 299 (1990). The Perkins

 Court cited Massiah, Henry, and Maine v. Moulton, 474 U.S. 159 (1985) for the

 proposition that the Sixth Amendment prevents the Government from interfering with a

 defendant’s right to counsel after charges have been filed. Perkins, 496 U.S. at 299.

 O’Reilly says the facts of his case go beyond Perkins, but the Supreme Court stated a

                                              6
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2531 Filed 02/01/08 Page 7 of 14




 bright-line rule and made clear that when “[n]o charges [have] been filed on the subject

 of the interrogation, . . . Sixth Amendment precedents are not applicable.” Id.

        On the other hand, the Supreme Court found the defendant’s Sixth Amendment

 right was violated in Escobedo because: (1) the investigation focused on the defendant;

 (2) the defendant was taken into police custody; (3) the police interrogated him without

 Miranda warnings; and (4) the police denied him the opportunity to consult with his

 attorney after he asked to speak with him numerous times. See Escobedo, 378 U.S. at

 490-91.

        Here, while the investigation had focused on O’Reilly, and he was in state

 custody, O’Reilly was not interrogated by the police, and he never asked for an attorney

 Escobedo is distinguishable.

        Further, “[i]n a line of constitutional cases in [the Supreme Court], it has been

 firmly established that a person’s Sixth . . . Amendment right to counsel attaches only at

 or after the time that adversary judicial proceedings have been initiated against him.”

 Kirby v. Illinois, 406 U.S. 682, 688 (1972). The Court acknowledged it previously held

 that a defendant has a constitutional right to counsel before trial, but stated “all of those

 cases have involved points of time at or after the initiation of adversary judicial criminal

 proceedings – whether by way of formal charge, preliminary hearing, indictment,

 information, or arraignment.” Id. at 689 (emphasis in original). No adversary judicial

 proceedings for the DFCU robbery/murder had begun when O’Reilly made incriminating

 statements.



        B. Fifth Amendment

                                               7
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2532 Filed 02/01/08 Page 8 of 14




        O’Reilly argues his Fifth Amendment rights were violated because he was

 interrogated in custody without Miranda warnings. The Court finds Miranda warnings

 were not required.

        “[W]hen an individual is taken into custody or otherwise deprived of his freedom

 by the authorities in any significant way and is subjected to questioning, the privilege

 against self-incrimination is jeopardized. Procedural safeguards must be employed to

 protect the privilege[.]” Miranda v. Arizona, 384 U.S. 436, 478-79 (1966). “Prior to any

 questioning, the person must be warned that he has a right to remain silent, that any

 statement he does make may be used as evidence against him, and that he has a right

 to the presence of an attorney, either retained or appointed.” Id. at 444.

        However, “Miranda was not meant to protect suspects from boasting about their

 criminal activities in front of persons whom they believe to be their cellmates.” Perkins,

 496 U.S. at 298. The Perkins Court rejected the argument that Miranda warnings are

 required whenever a suspect is in custody and converses with someone who happens

 to be a Government agent, holding that “[c]onversations between suspects and

 undercover agents do not implicate the concerns underlying Miranda. The essential

 ingredients of a ‘police-dominated atmosphere’ and compulsion are not present when

 an incarcerated person speaks freely to someone whom he believes to be a fellow

 inmate.” Id. at 296.

        Nix-Bey was not a Government agent. He initiated contact with the FBI and was

 not offered compensation or a reduced sentence for his information. Nevertheless,

 even presuming he was an agent at the time he recorded O’Reilly’s statements,

 Miranda and Perkins allow the admission of the recording. O’Reilly spoke freely about

                                              8
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2533 Filed 02/01/08 Page 9 of 14




 his criminal activities to someone he believed to be his cell mate. Perkins bars

 O’Reilly’s Fifth Amendment claim.

        C. Involuntary Confession

        Relying on Arizona v. Fulminante, 499 U.S. 279 (1991) and 18 U.S.C. §3501,

 O’Reilly argues the Court is obligated to hold an Evidentiary Hearing, and that hearing

 will convince the Court to suppress his confession because it was compelled and

 involuntary. See Lego v. Twomey, 404 U.S. 477, 478 (1972) (stating only voluntary

 confessions are admissible).

        In Fulminante, the defendant befriended another inmate, a paid informant for the

 FBI. Fulminante, 499 U.S. at 282-83. The informant knew the defendant was “starting

 to get some tough treatment” from other inmates because of a rumor that he killed a

 child. The defendant confessed to the murder only after the informant offered to protect

 him if he did so. Id. at 283. The trial court found the confession to be voluntary, but the

 appellate court said it was coerced. Id. at 284.

        The United States Supreme Court agreed with the appellate court based on the

 informant’s position as defendant’s friend and defendant’s: (1) fear of physical violence;

 (2) low intelligence; (3) short stature; (4) slight build; and (5) inability to adapt to prison

 life. Id. at 286 n.2 and 287-88.

        O’Reilly says Fulminante does not establish a bright-line test. Instead, he argues

 the Court must analyze the voluntariness of his confession under the totality of the

 circumstances. O’Reilly says under the totality of the circumstances, his confession

 should be suppressed because Nix-Bey – a person he depended on for his intelligence



                                                 9
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2534 Filed 02/01/08 Page 10 of 14




  and protection – coerced him to confess. However, the totality of these circumstances

  do not trigger a Fulminante violation. There is no evidence to show O’Reilly had low

  intelligence, and a letter from Nix-Bey to O’Reilly assuring his safety is not sufficient to

  prove O’Reilly needed protection. There is also no evidence that O’Reilly encountered

  actual violence or that he received a credible threat of physical violence from other

  inmates such that his “will was overborne in such a way as to render his confession the

  product of coercion.” See id. at 287-88

         In addition, the Court cannot honor O’Reilly’s request to suppress his statements

  based on 18 U.S.C. §3501. While it is non-exhaustive, section 3501 provides a list of

  factors Congress wanted courts to take into account in evaluating the voluntariness of a

  defendant’s confession:

         The trial judge in determining the issue of voluntariness shall take into
         consideration all the circumstances surrounding the giving of the
         confession, including (1) the time elapsing between arrest and
         arraignment of the defendant making the confession, if it was made after
         arrest and before arraignment, (2) whether such defendant knew the
         nature of the offense with which he was charged or of which he was
         suspected at the time of making the confession, (3) whether or not such
         defendant was advised or knew that he was not required to make any
         statement and that any such statement could be used against him, (4)
         whether or not such defendant had been advised prior to questioning of
         his right to the assistance of counsel; and (5) whether or not such
         defendant was without the assistance of counsel when questioned and
         when giving such confession.

  18 U.S.C. §3501(b).

         However, section 3501 did not overrule Miranda v. Arizona, 384 U.S. 436 (1966).

  Dickerson v. United States, 530 U.S. 428, 432 (2000). “Miranda . . . govern[s] the

  admissibility of statements made during custodial interrogation in both state and federal

  courts.” Id. Thus, section 3501 “must yield to Miranda’s more specific requirements.”

                                               10
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2535 Filed 02/01/08 Page 11 of 14




  Id. at 437. The Court already determined O’Reilly’s statements will not be suppressed

  based on Miranda; 18 U.S.C. §3501 does not change this result.

          D. Fed. R. Crim. P. 5(a)

          Under Fed. R. Crim. P. 5(a), “A person making an arrest within the United States

  must take the defendant without unnecessary delay before a magistrate judge, or before

  a state or local judicial officer . . . .”

          O’Reilly relies on Anderson v. United States, 318 U.S. 350 (1943) to support his

  argument that the Court should suppress his statements based on a violation of Fed. R.

  Crim. P. 5(a). In Anderson, a copper company’s operations were interrupted by the

  dynamiting of four power lines and two steel towers. After the FBI began its

  investigation, the local sheriff arrested individuals he suspected of participating in the

  dynamiting. Instead of taking the individuals before a magistrate as required by state

  law, state officials held them at the company-owned Y.M.C.A. Anderson, 318 U.S. at

  352. The FBI questioned them over a period of six days; some made incriminating

  statements. Id. at 353. The United States Supreme Court held the statements were

  inadmissible because there was a working arrangement between the FBI and the local

  sheriff. The Court held the individuals were required to be presented to a magistrate

  before any questioning began. Id. at 355-56.

          O’Reilly argues that just like Anderson, agents did not promptly take him into

  federal custody and instead collaborated with the MDOC to control his prison

  arrangements simply to obtain incriminating statements. O’Reilly fails to point out an

  important distinction between himself and Anderson: Anderson was under arrest at the



                                               11
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2536 Filed 02/01/08 Page 12 of 14




  time of delay. O’Reilly was not arrested on a federal offense. Further, he was not

  questioned by a federal agent, for the reason the Court has already concluded Nix-Bey

  was not a Government agent. Hence, there was no obligation to present O’Reilly to a

  magistrate or other judicial officer before he confessed. According to the United States

  Supreme Court:

         [T]here can be no “delay” in bringing a person before a federal magistrate
         until, at a minimum, there is some obligation to bring the person before
         such a judicial officer in the first place. Plainly, a duty to present a person
         to a federal magistrate does not arise until the person has been arrested
         for a federal offense.

  United States v. Alvarez-Sanchez, 511 U.S. 350, 358 (1994) (emphasis in original).

  The exception to this rule is “if state or local authorities, acting in collusion with federal

  officers, were to arrest and detain someone in order to allow the federal agents to

  interrogate him in violation of his right to a prompt federal presentment.” Id. at 359; see

  also Anderson, 318 U.S. at 356 and United States v. Coppola, 281 F.2d 340, 344 (2nd

  Cir. 1960):

         If this cooperation (between the state police and the FBI) reached the
         point of arrest and detention by local police for the purpose of enabling
         federal officers to question the defendants concerning the bank robberies
         for a period of time forbidden to federal officers by Rule 5(a) of the Federal
         Rules of Criminal Procedure, admissions thus obtained would properly be
         excluded. The rule excludes confessions when the “working arrangement”
         includes [] illegal detention – in other words, when federal law
         enforcement officers [] hold the defendant illegally so that they may secure
         a confession.

         Although he was in custody, O’Reilly was not held by state authorities for the

  benefit of interrogation by FBI agents. Further, when O’Reilly was arrested on the state

  charge, authorities were not aware of his potential involvement in the DFCU

  robbery/murder, and the FBI was not involved. In addition, although the FBI asked the

                                                 12
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2537 Filed 02/01/08 Page 13 of 14




  MDOC to transfer O’Reilly to a particular facility so Nix-Bey could obtain a tape

  recording, there is no evidence that a collusive arrangement between state and federal

  agents caused O’Reilly to confess. See Alvarez-Sanchez, 511 U.S. at 360.

         Finally, O’Reilly’s confession did not result from police interrogation, and “[r]ule

  5(a) is not a formality; its purpose is to minimize secret police interrogation of persons

  under detention; its ultimate aim is to avoid those situations out of which grows the

  whole system of the ‘third degree.’” Coppola v. United States, 365 U.S. 762, 765 (1961).



  IV.    CONCLUSION

         O’Reilly has not established a need for an Evidentiary Hearing. The Court finds

  as a matter of law that: (1) O’Reilly’s Sixth Amendment protections did not arise until he

  was taken into custody on federal charges; (2) at no point in time did Nix-Bey serve as a

  Government agent that would trigger Fifth Amendment or other constitutional

  protections for O’Reilly; (3) O’Reilly’s confession was voluntary and made prior to arrest;

  (4) no collusiveness is established between federal and state agents that triggers a

  conclusion that O’Reilly was in federal custody prior to the filing of the federal criminal

  complaint; and (5) 18 U.S.C. §3501 and Fed. R. Crim. P. 5(a) are inapplicable.

         O’Relly’s motion is DENIED.

         IT IS ORDERED.


                                             s/Victoria A. Roberts
                                             Victoria A. Roberts
                                             United States District Judge

  Dated: February 1, 2008


                                               13
Case 2:05-cr-80025-VAR-RSW ECF No. 310, PageID.2538 Filed 02/01/08 Page 14 of 14




   The undersigned certifies that a copy of this
   document was served on the attorneys of
   record by electronic means or U.S. Mail on
   February 1, 2008.

   s/Linda Vertriest
   Deputy Clerk




                                                   14
